     Case 3:19-cv-01930-PAD       Document 89      Filed 01/08/20    Page 1 of 7




                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

                   Plaintiff,

            v.                                    No. 19-cv-01930

$53,082,824.19 IN U.S. CURRENCY,

                   Defendant.




  BANCO SAN JUAN INTERNACIONAL’S REPLY BRIEF IN SUPPORT OF ITS
     MOTION TO DISMISS PURSUANT TO THE EIGHTH AMENDMENT


Guillermo Ramos Luiña (USDC-204007)            Abbe David Lowell (pro hac vice)
PO Box 2763, UPR Station                       Eric W. Bloom (pro hac vice)
San Juan, PR 00931-2763                        Christopher D. Man (pro hac vice)
(787) 620-0527 (Phone)                         Winston & Strawn LLP
(787) 620-0039 (Fax)                           1700 K Street, NW
gramlui@yahoo.com                              Washington, DC 20006
                                               (202) 282-5000 (Phone)
                                               (202) 282-5100 (Fax)
                                               adlowell@winston.com
                                               ebloom@winston.com
                                               cman@winston.com

Sonia Torres (USDC-209310)                     Jonathan W. Haray (pro hac vice)
Meléndez Torres Law PSC                        Courtney Saleski (pro hac vice)
MCS Plaza, Suite 1200                          DLA Piper LLP (US)
255 Ponce de León Avenue                       500 8th Street, NW
San Juan, PR 00917                             Washington, DC 20004
(787) 281-8100 (Phone)                         (202) 799-4000 (Phone)
(787) 281-8310 (Fax)                           (202) 799-5000 (Fax)
storres@melendeztorreslaw.com                  jonathan.haray@dlapiper.com
                                               courtney.saleski@dlapiper.com

                    Counsel for Banco San Juan Internacional, Inc.
       Case 3:19-cv-01930-PAD           Document 89        Filed 01/08/20      Page 2 of 7




       The government’s claim that it is premature to know whether a forfeiture is grossly

excessive for purposes of the Eighth Amendment until a forfeiture order is imposed ignores the

facts of this case. While the Court cannot always predict what sort of damages it may impose at

the outset of a case, the Court can determine whether the relief that a party seeks has gone too far.

Where courts have frozen assets to cover potential liabilities, for example, courts are typically

amenable to reducing the amount of assets frozen once it has been shown that more than necessary

has been frozen to cover those potential liabilities. See, e.g., Datatech Enter. LLC v. FF Magnat

Ltd., 2012 WL 4068624, *5 (N.D. Cal. Sept. 12, 2012). Here, the government cannot satisfy its

claim for the seizure of $53 million.

       To be sure, Banco San Juan Internacional, Inc. (“BSJI”) has established that the

government has failed to state a forfeiture claim (Dkt. 19), such that no forfeiture is warranted at

all. Nevertheless, even if the government somehow could substantiate some part of its claim, the

amount at issue would not begin to approach the more than $53 million seized by the government.

       The government claims that the “property is subject to forfeiture as proceeds” (Dkt. 55 at

2), but then ignores the operative definition of “proceeds.” The government’s theory is that BSJI’s

accounting of two credit facilities was in error. It does not contend that the underlying loans

themselves were unlawful. According to the government, the alleged accounting errors and related

description of the transactions are “false[] represent[ations]” giving rise to a “bank fraud.” (Dkt.

1 at 2-3.) However, the money that the government seized is the repayment of the subject loans,

a point never contested by the government. Even in the context of a fraudulent loan—and here

there is not even an allegation that the loans themselves were fraudulent—repayments are not

considered “proceeds.” To the contrary, repayments are to be deducted from the forfeiture. 18

U.S.C. § 981(a)(2)(C) (“In cases involving fraud in the process of obtaining a loan or extension of
       Case 3:19-cv-01930-PAD            Document 89        Filed 01/08/20      Page 3 of 7




credit, the court shall allow the claimant a deduction from the forfeiture to the extent that

the loan was repaid, or the debt was satisfied, without any financial loss to the victim.”) (emphasis

added). Thus, even if the government could prove some sort of fraud claim, the assets seized

would not be subject to forfeiture.

       Additionally, the government claims that it can forfeit all criminally-derived proceeds that

are used in the course of a money laundering transaction (Dkt. 55 at 2-3), but the government has

failed to properly allege or demonstrate that the transactions at issue involved criminally-derived

proceeds or constitute money laundering. The government has suggested only that BSJI did

something fraudulent in setting up these transactions in which it was paid, but the government has

not alleged that the funds themselves were received by BSJI “knowing that the property involved

in a financial transaction represents the proceeds of some form of unlawful activity.” 18 U.S.C.

§ 1956(a)(1). Nor has the government alleged that the money PDVSA used to repay BSJI resulted

from any illegal activity, such as drug trafficking, or that BSJI knew it to be. Consequently, even

if the Court were to accept all the government’s allegations in its complaint as true, whatever it is

that the government thinks BSJI did wrong (but is afraid to say publicly, despite the fact that it has

publicized its own investigation such that it is no secret), it is not money laundering.

       “For proceeds to be laundered, there must first be wrongfully obtained proceeds. Money

laundering ‘[p]roceeds’ are funds obtained from prior, separate criminal activity.” United States

v. Phythian, 529 F.3d 807, 813 (8th Cir. 2008) (quoting United States v. Savage, 67 F.3d 1435,

1441 (9th Cir. 1995)). “Congress appears to have intended the money laundering statute to be a

separate crime distinct from the underlying offense that generated the money to be laundered.”

Savage, 67 F.3d at 1442 (quoting United States v. Edgmon, 952 F.2d 1206, 1213 (10th Cir. 1991)).

In other words, “the transactions that created the proceeds must be distinct from the money-



                                                  2
        Case 3:19-cv-01930-PAD          Document 89        Filed 01/08/20      Page 4 of 7




laundering transaction,” United States v. Pogosian, 754 F. App’x 545, 547 (9th Cir. 2018), or

“[p]ut plainly, the laundering of funds cannot occur in the same transaction through which those

funds first become tainted by crime.” United States v. Butler, 211 F.3d 826, 830 (4th Cir. 2000).

        The government makes additional categorical claims that are plainly wrong.              The

government claims that “[f]orfeiture of property that is substantially connected to an offense can

never be ‘grossly disproportional’” (Dkt. 55 at 4 (quoting Austin v. United States, 509 U.S. 602,

627 (1993)), but the cases cited by the government stand for the opposite proposition. First, the

government’s citation above to Austin is flat-out wrong; the government is not citing to the

majority opinion, but to Justice Scalia’s concurrence, which the majority rejected. 509 U.S. at 627

(Scalia, J., concurring).

        Second, the whole purpose of the Austin majority decision was to open the door to Eighth

Amendment challenges to civil forfeiture actions when the claimed forfeiture is excessive as

compared to a statute’s remedial aims. Id. at 622. There is no point in opening a doorway that

could “never” be crossed.

        Third, one of the cases cited by the government found that a forfeiture was excessive, which

itself undercuts the government’s knee-jerk assertion that it “never” can happen. (Dkt. 55 at 4

(citing von Hofe v. United States, 492 F.3d 175, 184-85 (2d Cir. 2007)).) Other courts have reached

the same conclusion. See United States v. Ferro, 681 F.3d 1105, 1116 (9th Cir. 2012). Of course,

most notably, the Supreme Court itself has found even a criminal forfeiture excessive. United

States v. Bajakajian, 524 U.S. 321, 339 (1998). The First Circuit also has held that a forfeiture is

excessive if it would deprive the claimant of his livelihood and remanded for that factor to be

considered—a completely pointless exercise under the government’s theory that forfeiture can

“never” be excessive. United States v. Levesque, 546 F.3d 78, 83-84 (1st Cir. 2008).



                                                 3
        Case 3:19-cv-01930-PAD           Document 89         Filed 01/08/20      Page 5 of 7




       Finally, yet importantly, the cases inaccurately cited by the government involve something

entirely different from the proceeds of crime; they involve instrumentalities of the crime. (Dkt. 55

at 4-5.) The government has not alleged, and could not plausibly allege, that the money at issue is

the instrumentality of a crime. In Bajakajian, the Supreme Court addressed the forfeiture of

currency that was being transported without being disclosed, and explained:

       The currency in question is not an instrumentality in any event. The Court of
       Appeals reasoned that the existence of the currency as a “precondition” to the
       reporting requirement did not make it an “instrumentality” of the offense. We
       agree; the currency is merely the subject of the crime of failure to report. Cash in
       a suitcase does not facilitate the commission of that crime as, for example, an
       automobile facilitates the transportation of goods concealed to avoid taxes.

524 U.S. at 334 n.9. The same is true here. The money allegedly being laundered did not launder

itself; it is not the instrumentality of the alleged laundering, but the subject of the alleged

wrongdoing, that is, it was the product of a legal transaction, a legal transaction that BSJI allegedly

mislabeled.

       For purposes of this Motion, BSJI has assumed the truth of the government’s factual

averments (as alleged in its forfeiture complaint), and yet the government still cannot justify its

extraordinary overreach, especially in the amount seized.

       Although the government has not established that any of the more than $53 million seized

is subject to forfeiture, there is a middle ground. As BSJI noted, the Court could dismiss a claim

for all but $3 million until the case is resolved on the merits. That is more than the forfeiture of

5% of the funds that was upheld in Bajakajian, and would provide a safety net if the government

were ever to prove its case (something unnecessary, as any judgment by the Court against BSJI

would reach its assets in any event). (Dkt. 20 at 3.) No more is warranted here. As in Bajakajian,

the government cannot identify any victim who lost $53 million due to BSJI’s conduct or establish




                                                  4
       Case 3:19-cv-01930-PAD           Document 89        Filed 01/08/20      Page 6 of 7




that the $53 million itself is tainted money due to drug sales or some other serious offense (or that

BSJI knew it to be).

                                         CONCLUSION

       For the foregoing reasons, the Court should find that any forfeiture in this case, and

particularly the $53 million sought, would violate the Excessive Fines Clause of the Eighth

Amendment. Alternatively, this Court should reduce the forfeiture claim by such amount as the

Court finds violative of the Eighth Amendment.

Dated: January 8, 2020

/s/ Guillermo Ramos Luiña                         /s/ Abbe David Lowell
Guillermo Ramos Luiña (USDC-204007)               Abbe David Lowell (pro hac vice)
PO Box 2763, UPR Station                          Eric W. Bloom (pro hac vice)
San Juan, PR 00931-2763                           Christopher D. Man (pro hac vice)
(787) 620-0527 (Phone)                            Winston & Strawn LLP
(787) 620-0039 (Fax)                              1700 K Street, NW
gramlui@yahoo.com                                 Washington, DC 20006
                                                  (202) 282-5000 (Phone)
                                                  (202) 282-5100 (Fax)
                                                  adlowell@winston.com
                                                  ebloom@winston.com
                                                  cman@winston.com

Sonia Torres, Esq. (USDC-209310)                  Jonathan W. Haray (pro hac vice)
Meléndez Torres Law PSC                           Courtney Saleski (pro hac vice)
MCS Plaza, Suite 1200                             DLA Piper LLP (US)
255 Ponce de León Avenue                          500 8th Street NW
San Juan, PR 00917                                Washington, DC 20004
(787) 281-8100 (Phone)                            (202) 799-4000 (Phone)
(787) 281-8310 (Fax)                              (202) 799-5000 (Fax)
storres@melendeztorreslaw.com                     jonathan.haray@dlapiper.com
                                                  courtney.saleski@dlapiper.com

                         Counsel for Banco San Juan Internacional, Inc.




                                                 5
       Case 3:19-cv-01930-PAD          Document 89       Filed 01/08/20      Page 7 of 7




                                CERTIFICATE OF SERVICE

       I certify that the foregoing was filed on January 8, 2020 with the Clerk of Court using the

CM/ECF system, which automatically sent a notice of electronic filing to all counsel of record.

                                     /s/ Abbe David Lowell
                                     Abbe David Lowell
